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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                             CASE NO.:
  NICOLE FILLER,

         Plaintiff,

  v.

  JB 2009 LLC, A Florida limited liability
  company,

        Defendant.
  ________________________________/

                      COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, NICOLE FILLER (“Plaintiff”), by and through undersigned counsel, files this

  Complaint against Defendant, JB 2009, LLC, a Florida limited liability company (hereinafter

  referred to as “Defendant” or “JB”), for violations of the Fair Labor Standards Act, as amended,

  29 U.S.C. § 216(b) (hereinafter as “FLSA”).

                                 JURISDICTION AND VENUE

          1.      Jurisdiction in this Court is proper as the claims are brought pursuant to the Fair

   Labor Standards Act, as amended (29 U.S.C. §201, et seq., hereinafter called the “FLSA”) to

   recover unpaid overtime wages, an additional equal amount as liquidated damages, obtain

   declaratory relief, and reasonable attorney’s fees and costs.

          2.      The jurisdiction of the Court over this controversy is based upon 29 U.S.C.

   §216(b).

          3.      This Court has the authority to grant declaratory relief pursuant to the FLSA and

   the Federal Declaratory Judgment Act (“DJA”), 28 U.S.C. §§ 2201-02.

          4.      Venue is proper as Plaintiff worked for Defendant in Broward County, Florida,
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   and the actions giving rise to these claims arose in Broward County, Florida.

                                             PARTIES

          5.      At all times material hereto, Plaintiff was a resident of Broward County, Florida.

          6.      At all times material hereto, Defendant was, and continues to be, a business

   operating in Broward County, Florida, at which Plaintiff worked.

          7.      At all times material hereto, Plaintiff was “engaged in commerce” within the

   meaning of §6 and §7 of the FLSA.

          8.      At all times material hereto, Plaintiff was an “employee” of Defendant within

   the meaning of the FLSA.

          9.      At all times material hereto, Defendant was, and continues to be, an “employer”

   within the meaning of the FLSA.

          10.     At all times material hereto, Defendant was, and continues to be, “an enterprise

   engaged in commerce,” within the meaning of the FLSA.

          11.     Based upon information and belief and pre-suit investigation into publicly

   available resources, Plaintiff alleges that the annual gross revenue of Defendant was in excess

   of $500,000.00 per annum, or the prorated amount for same during the time Defendant has been

   open for business, during the relevant time periods.

          12.     At all times relevant hereto, Defendant operated an air conditioning repair and

   servicing company in Broward County, Florida.

          13.     At all times relevant hereto, Defendant had more than two employees.

          14.     At all times material hereto, Defendant had two (2) or more employees handling,

   selling, or otherwise working on goods or materials that had been moved in or produced for

   commerce.
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             15.   At all times material hereto, the work performed by the Plaintiff was directly

   essential to the business performed by Defendant(s).

                                     STATEMENT OF FACTS

             16.   Plaintiff worked as a non-exempt hourly paid Office Assistant/Call Center

   Representative from May 7, 2018, until her termination on September 12, 2018.

             17.   During all times relevant, Plaintiff earned $11.00 per hour, and her overtime rate

   was $16.50 per hour.

             18.   Plaintiff regularly worked overtime hours and when same was reflected on her

   time sheets, she was paid time and one half for same.

             19.   Plaintiff, however, regularly worked additional hours for Defendant on a weekly

   basis, other than what was reflected on her time sheets, that Defendant refused and/or failed to

   record.

             20.   This additional time worked was done at the instruction of, and knowledge by,

   Defendant’s management, but was not accounted for as hours worked, and thereby constitutes

   compensable “off the clock” work.

             21.   These additional hours worked were overtime hours, and should have been

   compensated at time and one half, Plaintiff’s hourly rate of pay.

             22.   Plaintiff should have been compensated at the rate of one and one-half times

   Plaintiff’s regular rate for all hours that Plaintiff worked in excess of forty (40) hours per week,

   as required by the FLSA throughout her employment.

             23.   Defendant violated Title 29 U.S.C. §207 in that:

                   a.     Plaintiff worked in excess of forty (40) hours in one or more workweeks

                          for her period of employment with Defendant;
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                 b.      No payments or provisions for payment have been made by Defendant to

                         properly compensate Plaintiff at the statutory rate of one and one-half

                         times Plaintiff’s regular rate for all hours worked in excess of forty (40)

                         hours per work week, as provided by the FLSA; and

                 c.      Defendant failed to maintain proper time records as mandated by the

                         FLSA as Plaintiff did not punch in or out.

          24.     Plaintiff estimates her FLSA damages to be, as follows: Plaintiff is owed 112.95

   overtime hours during her employment at the rate of $16.50 per overtime hour = $1,863.68 in

   unliquidated damages and $3,727.35 in liquidated damages, plus attorneys’ fees and costs.

          25.     Prior to the filing of this lawsuit, Defendant did not consult with an attorney to

   evaluate whether Plaintiff’s actual job duties and pay structure rendered her exempt from

   recovering payment for all overtime worked under the FLSA.

          26.     Prior to the filing of this lawsuit, Defendant did not consult with the DOL to

   evaluate whether Plaintiff’s actual job duties and pay structure rendered her exempt from

   recovering payment for all overtime worked under the FLSA.

          27.     Prior to the filing of this lawsuit, Defendant did not consult with an accountant

   to evaluate whether Plaintiff’s actual job duties and pay structure rendered her exempt from

   recovering payment for all overtime worked under the FLSA.

          28.     Based on the allegations in Paragraphs 25-27, above, Plaintiff is entitled to

   liquidated damages as Defendant has no objective or subjective good faith belief that its pay

   practices were in compliance with the FLSA.

          29.     Plaintiff has retained the law firm of RICHARD CELLER LEGAL, P.A. to

   represent her in the litigation and has agreed to pay the firm a reasonable fee for its services.
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                                        COUNT I
                 VIOLATION OF 29 U.S.C. §207 OVERTIME COMPENSATION

           30.     Plaintiff re-alleges and reavers paragraphs 1 through 29 of the Complaint, as if

   fully set forth herein.

           31.     During her employment, Plaintiff worked in excess of the forty (40) hours per

   week for which Plaintiff was not compensated at the statutory rate of one and one-half times

   Plaintiff’s regular rate of pay for all hours worked.

           32.     Plaintiff was entitled to be paid at the statutory rate of one and one-half times

   Plaintiff’s regular rate of pay for those hours worked in excess of forty (40) hours.

           33.     Defendant failed to pay Plaintiff time and one half for all hours worked in excess

   of forty (40) per week in violation of the FLSA.

           34.     Defendant’s actions were willful and/or showed reckless disregard for the

   provisions of the FLSA, as evidenced by its failure to compensate Plaintiff at the statutory rate

   of one and one-half times Plaintiff’s regular rate of pay for the hours worked in excess of forty

   (40) hours per week when it knew, or should have known, such was, and is due.

           35.     Due to the intentional, willful, and unlawful acts of Defendant, Plaintiff

   suffered, and continues to suffer, damages and lost compensation for time worked over forty

   (40) hours per week, plus liquidated damages.

           36.     Plaintiff is entitled to an award of reasonable attorney’s fees and costs pursuant

   to 29 U.S.C. §216(b).

          WHEREFORE, Plaintiff respectfully requests that judgment be entered in her favor

  against Defendant(s):

                  a.         Declaring, pursuant to the FLSA, that the acts and practices complained
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                       of herein are in violation of the maximum hour provisions of the FLSA;

               b.      Awarding Plaintiff overtime compensation in the amount due to her for

                       Plaintiff’s time worked in excess of forty (40) hours per work week;

               c.      Awarding Plaintiff liquidated damages in an amount equal to the overtime

                       award;

               d.      Awarding Plaintiff reasonable attorney’s fees and costs and expenses of

                       the litigation pursuant to 29 U.S.C. §216(b);

               e.      Awarding Plaintiff pre-judgment interest; and

               f.      Ordering any other further relief, the Court deems just and proper.

                                        JURY DEMAND

        Plaintiff demands trial by jury on all issues so triable as a matter of right by jury.

               Dated this 24th day of October 2018.

                                                       /s/ Noah E. Storch_
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